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 5 Attorneys for Plaintiff-Creditor,
   Hugh Casiano
 6
                         UNITED STATES BANKRUPTCY COURT
 7
                                DISTRICT OF ARIZONA
 8

 9 In re:                                        In Proceedings Under Chapter 7
10
   ANTHONY R. MARTINEZ and
11 CANDACE M. MARTINEZ,                          Bankruptcy Case No. 2:20-bk-01582-
                                                 DPC
12                       Debtors.
13

14
     HUGH CASIANO,
15
                         Plaintiff,              Adv. Case No.
16
            v.
17
                                                 COMPLAINT OBJECTING TO
18 CANDACE MARTINEZ,
   a/k/a Candace Silva-Samante,                  DISCHARGEABILITY PURSUANT TO 11
19                                               U.S.C. § 523(A)(6)
                 Defendant.
20

21

22          Plaintiff-Creditor Hugh Casiano (“Mr. Casiano” or “Plaintiff”) brings the

23 following Complaint objecting to discharge of debt pursuant to 11 U.S.C. §

24 523(a)(6) against Defendant-Debtor Candace Martinez a/k/a Candace

25                                            -1-
            Complaint Objecting to Dischargeability Pursuant to 11 U.S.C. § 523(a)(6)
                          Bankruptcy Case No. 2:20-bk-01582-DPC
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 1 Silva-Samante (“Defendant”) and, in support of his Complaint, alleges and

 2 states as follows:

 3                                        THE PARTIES
 4         1.     Plaintiff-Creditor Hugh Casiano is an individual residing in
 5 Maricopa County, Arizona. He is the owner of 1 One Armor, a business

 6 located in Scottsdale, Arizona that provides various services, including

 7 vehicle wrap installation, home window tinting, and car window tinting.

 8         2.     Defendant-Debtor Candace Martinez a/k/a Candace Silva-
 9 Samante is an individual who, on information and belief, resides in Phoenix,

10 Arizona. She is the author of defamatory statements of and concerning

11 Plaintiff that she posted on the consumer review web site <yelp.com> and

12 other online locations.

13         3.     On information and belief, Defendant is married to co-debtor
14 Anthony Martinez, and the two jointly hold a marital and bankruptcy

15 estate.

16                               JURISDICTION AND VENUE
17         4.     This Court has jurisdiction of this matter under 28 U.S.C. § 157 and
18 11 U.S.C. § 523. The claims for relief alleged in this complaint rise under Title

19 11 of the United States Code and are related to a case pending in the

20 United States Bankruptcy Court for the District of Arizona (the “Bankruptcy

21 Court”). The pending bankruptcy case to which the claims for relief alleged

22 in this Complaint are related to In re Anthony R. Martinez and Candace M.

23 Martinez, Bk Case No. 2:20-bk-01582-MCW (the “Martinez Case”).

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 1         5.     The determination of dischargeability is a core proceeding
 2 under 28 U.S.C. § 157(b).

 3         6.     Pursuant to 28 U.S.C. § 1409, venue is proper in the District of
 4 Arizona, because the Martinez Case is pending in this district and division.

 5         7.     Defendant Candace M. Martinez is a debtor in the Martinez
 6 Case.

 7                           FACTS COMMON TO ALL CLAIMS
 8         8.     Plaintiff is the owner of 1 One Armor (“1 Armor”), a business
 9 located in Scottsdale, Arizona that provides various services, including

10 vehicle wraps, home window tinting, and car window tinting.

11         9.     1 Armor has a profile on the consumer review web site
12 <yelp.com> (“Yelp”), which allows customers of a business to write and post

13 reviews of a given business. These reviews are visible to the general public.

14         10.    On or about November 25, 2019, Defendant posted the
15 following review of 1 Armor on 1 Armor’s Yelp page (the “Defamatory

16 Review”):

17
           Heed my warning – GO SOMEWHERE ELSE! Upon my initial
18         arrival by myself and parking my car, two men stood and stared
           at me. As uncomfortable as it made me, I asked what they
19         were looking at. One of the men approached my car and said
           “it’s my property. I can do whatever I want!” Makes me wonder
20
           his relation to Epstein? Anyone who thinks they can “do
21         anything” should be considered dangerous and untrustworthy!
           Jacksons offers better service, better tint, more comfortable
22         atmosphere, cheaper prices, and BETTER CUSTOMERS SERVICE!!
23
           P.S. Owner, your customer service skills SUCK BALLS!!! Here’s a
24         tip; staring at women alone in their car can be considered

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1          disturbing. Especially in this day and age! Get a greet if people
           going into your lot is so bothersome! #metoo.
2
     (Defamatory Review, attached as Exhibit 1.)
3
           11.     Sometime between November 25, 2019 and December 2, 2019,
4
     Yelp removed the Defamatory Review for violation of its Terms of Service.
5
           12.     On or around November 25, 2019, Defendant then re-posted
6
     the Defamatory Review on one or more publicly visible pages on the social
7
     media web site <facebook.com>.
8
           13.     Defendant may have published the Defamatory Review in
9
     other locations online, which will be determined during discovery.
10
           14.     The Defamatory Review contains a number of false factual
11
     allegations.
12
           15.     The statement “[u]pon my initial arrival by myself and parking
13
     my car, two men stood and stared at me . . . One of the men approached
14
     my car and said ‘it’s my property, I can do whatever I want!”’ is a false
15
     statement of fact.
16
           16.     This statement is of and concerning Plaintiff, as the context of
17
     the Defamatory Review make it clear that the speaker of this statement,
18
     and one of the men who allegedly “stared” at Defendant, is Plaintiff.
19
           17.     Plaintiff did not at any point “stare” at Defendant during her visit
20
     to 1 Armor.
21
           18.     In addition to these literally false statements of fact, the
22
     Defamatory Review also implies that Plaintiff engaged in serious and
23
     criminal sexual misconduct. Defendant created this implication by opining
24

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 1 that Plaintiff may have a relation to Jeffrey Epstein, an individual who was

 2 notorious for engaging in severe and criminal sexual misconduct.

 3          19.   Defendant      reinforced     this   implication    by   following    the
 4 statement “staring at women in their car can be considered disturbing”

 5 with “#metoo.” #metoo is a common refrain of the “me too” movement,

 6 which is a pattern emerging over the past few years of victims of sexual

 7 abuse accusing powerful men of such misconduct, and these men often

 8 being held responsible for this misconduct either in courts of law or the court

 9 of public opinion. Prominent men who have been held responsible due to

10 the efforts of the #metoo movement include Bill Cosby, Harvey Weinstein,

11 Steve Wynn, and Kevin Spacey.

12          20.   By falsely claiming that Plaintiff “stared” at Defendant while she
13 was in her car and then associating the Defamatory Review with the

14 #metoo movement, Defendant falsely implied that Plaintiff had engaged

15 in the same kind of severe sexual misconduct alleged against the above

16 individuals.

17          21.   Any implication of Plaintiff engaging in any form of sexual
18 misconduct is categorically false and is not based on any true disclosed

19 facts.

20          22.   These false statements of fact were made with the intent to
21 injure Casiano and his business, and in fact did so.

22 //

23 //

24 //

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1                 DEFENDANT’S CONDUCT WARRANTS PUNITIVE DAMAGES
2                                     UNDER ARIZONA LAW
3          23.        Defendant’s conduct warrants the imposition of punitive
4 damages under Arizona law.                    The factors justifying punitive damages
5 include, at a minimum, the following:

6                a.     Defendant        knowingly      made     false    and   defamatory
7                       statements about Plaintiff;
8                b.     Defendant        knew    that    these    false   and   defamatory
9                       statements about Plaintiff would damage his reputation,
10                      goodwill, and business;
11             c.       Defendant published the statements despite this knowledge
12                      in an effort to hurt Plaintiff’s reputation, career, and business
13                      and thereby help Plaintiff’s business competitors;
14             d.       Defendant acted with a high degree of moral turpitude and
15                      wanton dishonesty in publishing these statements about
16                      Plaintiff; and
17             e.       Defendant acted with knowledge that her statements were
18                      false, or with reckless disregard for her statements’ truth or
19                      falsity.
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 1                                       COUNT ONE
 2   FOR DETERMINATION OF NON-DISCHARGEABILITY OF DEBT UNDER 11 U.S.C.
 3        § 523(A)(6) ARISING FROM WILLFUL AND MALICIOUS DEFAMATION
 4         24.    Plaintiff repeats and re-alleges each of the foregoing
 5 paragraphs as if set forth fully herein.

 6         25.    Defendant authored and posted the Defamatory Review on or
 7 about November 25, 2019.

 8         26.    The Defamatory Review was publicly visible to any individual
 9 who visited 1 Armor’s Yelp page prior to the review being removed by Yelp.

10 The Defamatory Review was and/or is publicly visible to individuals who visit

11 other web sites or web pages where Defendant posted it.

12         27.    On information and belief, at least one third-party individual
13 viewed the Defamatory Review.

14         28.    The Defamatory Review is of and concerning Plaintiff because
15 the context of the review makes it apparent that the unnamed individual

16 who allegedly “stared” at Defendant and allegedly said he could do

17 whatever he wants is Plaintiff.

18         29.    The Defamatory Review contains multiple false statements of
19 fact, including that Plaintiff “stared” at Defendant while she was in her car

20 and stated he could do whatever he wants because it was his property.

21         30.    Plaintiff never “stared” at Defendant.
22         31.    Plaintiff also did not engage in any form of sexual misconduct,
23 as Defendant falsely implied by claiming that Plaintiff was somehow

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 1 affiliated with Jeffrey Epstein and that her false account of events

 2 somehow implicated the #metoo movement.

 3         32.     Defendant’s statements are defamatory in nature because
 4 they have a tendency to harm Plaintiff’s individual reputation and expose

 5 Plaintiff to public contempt, ridicule, aversion, or disgrace.

 6         33.     Defendant’s statements are defamatory per se because they
 7 falsely impute criminal conduct to Plaintiff and falsely imply that he has

 8 engaged in criminal sexual misconduct. Additionally, the characteristics

 9 and conduct Defendant falsely implies Plaintiff possesses are incompatible

10 with his trade or business.

11         34.     Defendant published these statements with actual malice in
12 that she had knowledge that these statements were false, or she published

13 the statements with reckless disregard as to their truth or falsity.

14         35.     Defendant published the Defamatory Review in order to harm
15 Plaintiff, his business, and his reputation, and in doing so, to profit and

16 advance rival business interests at the expense of Plaintiff’s interests.

17         36.     Defendant published the Defamatory Review with common
18 law malice toward Plaintiff and with the specific intent to cause damage

19 to Plaintiff.

20         37.     As a result of the false and defamatory statements published by
21 Defendant, Plaintiff’s reputation as an ethical, upstanding, businessman

22 with high integrity has been impugned.

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 1         38.    As a result of the false and defamatory statements published by
 2 Defendant, Plaintiff’s relationships with current and potential customers and

 3 clients have been undermined and adversely affected.

 4         39.    As a result of the false and defamatory statements published by
 5 Defendant, confidence in Plaintiff and his business has been undermined

 6 and Plaintiff has suffered a loss of goodwill.

 7         40.    As a result of the false and defamatory statements published by
 8 Defendant, Plaintiff has been forced to make an expenditure of money to

 9 remedy the defamation.

10         41.    As a result of the false and defamatory statements published by
11 Defendant, Plaintiff has been exposed to public hatred, ridicule, and

12 contempt.

13         42.    As a result of the false and defamatory statements published by
14 Defendant, Plaintiff has suffered economic damage.

15         43.    Defendant’s      publication     of   the    false   and    defamatory
16 statements was willful.

17         44.    Defendant’s      publication     of   the    false   and    defamatory
18 statements was malicious.

19         45.    In publishing the false and defamatory statements, Defendant
20 willfully and maliciously injured Plaintiff.

21         46.    As a direct and proximate result of the foregoing, Plaintiff has
22 suffered damages not presently ascertained at trial, but believed to be

23 $100,000.

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 1         47.    In view of the foregoing, Plaintiff therefore seeks an order under
 2 11 U.S.C. § 523(a)(6) determining that (1) Plaintiff is entitled to actual,

 3 presumed, punitive, and other damages in an amount to be specifically

 4 determined at trial; and (2) that said liability is non-dischargeable.

 5                                       COUNT TWO
 6   FOR DETERMINATION OF NON-DISCHARGEABILITY OF DEBT UNDER 11 U.S.C.
 7          § 523(A)(6) ARISING FROM FALSE LIGHT INVASION OF PRIVACY
 8         48.    Plaintiff repeats and re-alleges each of the foregoing
 9 paragraphs as if set forth fully herein.

10         49.    Defendant authored and published the Defamatory Review on
11 or about November 25, 2019.

12         50.    The Defamatory Review was publicly visible to any individual
13 who visited 1 Armor’s Yelp page prior to the review being removed by Yelp.

14 The Defamatory Review was and/or is publicly visible to individuals who visit

15 other web sites or web pages where Defendant posted it.

16         51.    On information and belief, at least one third-party individual
17 viewed the Defamatory Review.

18         52.    The Defamatory Review is of and concerning Plaintiff because
19 the context of the review makes it apparent that the unnamed individual

20 who allegedly “stared” at Defendant and allegedly said he could do

21 whatever he wants is Plaintiff.

22         53.    The Defamatory Review placed Plaintiff in a false light by false
23 implying that he was engaged in serious, criminal sexual misconduct.

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 1         54.    Defendant intended to create, and did in fact create, this false
 2 impression.

 3         55.    Plaintiff never “stared” at Defendant and never said to
 4 Defendant he could do whatever he wanted, or any similar statement.

 5         56.    Plaintiff also did not engage in any form of sexual misconduct,
 6 as Defendant falsely implied by claiming that Plaintiff was somehow

 7 affiliated with Jeffrey Epstein and that her false account of events

 8 somehow implicated the #metoo movement.

 9         57.    Defendant’s statements are highly offensive to a reasonable
10 person because they imply Plaintiff has engaged in serious, criminal sexual

11 misconduct.

12         58.    Defendant published these statements with actual malice in
13 that she had knowledge that these statements were false, or she published

14 the statements with reckless disregard as to their truth or falsity.

15         59.    Defendant published the Defamatory Review specifically to
16 cause psychological harm to Plaintiff.

17         60.    As a result of the false and defamatory statements published by
18 Defendant, Plaintiff has suffered emotional harm.

19         61.    Defendant’s      publication     of   the    false   and    defamatory
20 statements was willful.

21         62.    Defendant’s      publication     of   the    false   and    defamatory
22 statements was malicious.

23         63.    In publishing the false and defamatory statements, Defendant
24 willfully and maliciously injured Plaintiff.

25                                           - 11 -
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 1         64.    As a direct and proximate result of the foregoing, Plaintiff has
 2 suffered damages not presently ascertained at trial, but believed to be

 3 $100,000.

 4         65.    In view of the foregoing, Plaintiff therefore seeks an order under
 5 11 U.S.C. § 523(a)(6) determining that (1) Plaintiff is entitled to actual,

 6 presumed, punitive, and other damages in an amount to be specifically

 7 determined at trial; and (2) that said liability is non-dischargeable.

 8                                   PRAYER FOR RELIEF
 9         WHEREFORE, Plaintiff Hugh Casiano prays for judgment against
10 Defendant as follows:

11                (1)    For actual, presumed, and punitive damages in an
12                       amount to be specifically determined at trial; and
13                (2)    For costs, disbursements, fees, and interest as authorized
14                       by state and Federal Law and Rules;
15                (3)    For a decree that all debts determined to be owing by
16                       Defendant to Plaintiff which are the subject of this action
17                       are deemed and adjudicated to be non-dischargeable
18                       pursuant to 11 U.S.C. § 523(a)(6); and
19                (4)    For such other and additional remedies as the Court may
20                       deem just and proper.
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1          Dated: April 21, 2020.            Respectfully submitted,
2                                            /s/ Marc J. Randazza
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                                             Hugh Casiano
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